UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA

IN RE: District Court Case #6:20cv2040

McQUILLEN PLACE COMPANY, LLC, Chapter 7 Bankruptcy
Case No. 19-00507
Debtor

MOTION AND REQUEST FOR
EXTENSION OF TIME TO FILE
APPELLATE BRIEF

 

CORNICE & ROSE INTERNATIONAL,
INC.,

Appellant,
Vv.

CHARLES L. SMITH, et al.,

Nee Nee Suet” “ogee” Soap” “oem” “one” “wane” “onset” “Sonne” “anaes” “tamee” “ange” “aneet” “ame” “oemee “emer “meet” “nee”

Appellees.

COMES NOW the undersigned attorney and submits this Motion and Request for
Extension of Time to File Appellate Brief pursuant to Local Rule 7(d)(2), and states in
support as follows:
1. The last requested deadline for Appellant’s Appellate brief was August
31%, 2020.

2. It became apparent in the evening of August 315, 2020 that Appellant
would not ready to file the brief until September 1, 2020.

3. Because of the hour Appellant’s counsel did not believe contacting
counsel for Appellees Four Keys, LLC to ask counsel for a one day
extension was practical and intended to do so the following morning on

September 1, 2020.

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4. Because Appellee Four Keys, LLC already filed a Motion to Dismiss there
is no reason to ask for consent.
5. Appellant requests an extension until September 1, 2020 to file their
Appellant Brief.
6. Moreover, Appellant will file a Resistance to Four Keys, LLC’s Motion to
Dismiss.
WHEREFORE, Appellant respectfully prays that this Court grant an extension of
the deadline to file its appellate brief until Tuesday September 1, 2020.
) M, P.L.C.
By:

 

 

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ATTORNEY FOR CORNICE & ROSE
INTERNATIONAL, LLC

Certificate of Service
| hereby certify that on this [7 day of September, 2020, a true and correct

copy of the foregoing was served on attorneys of record via the Court's electronic
system:

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